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                                    IN THE UNITED STATES DISTRICT COURT

                             FOR THE WESTERN DISTRICT OF PENNSYLVANIA




Digital Verification Systems, LLC                  )
                                                   )        Civil Action No. _______________
                                                                             2:22-cv-749

                                                   )
                     vs.                           )              or
DocsCorp, LLC                                      )
                                                   )        Criminal Action No. ____________
                                                   )



                                           DISCLOSURE STATEMENT

           Pursuant to LCvR 7.1 of the Western District of Pennsylvania and to enable Judges and
Magistrate Judges to evaluate possible disqualification or recusal, the undersigned counsel for
Digital Verification Systems, LLC                                                      ,in the
above captioned action, certifies that the following are parents, subsidiaries and/or affiliates of
said party that have issued shares or debt securities to the public:

                                                       or
                                                               Patent Asset Management, LLC

        Pursuant to LCvR 7.1 of the Western District of Pennsylvania and to enable Judges and
Magistrate Judges to evaluate possible disqualification or recusal, the undersigned counsel for
                                                                         , in the above captioned
action, certifies that there are no parents, subsidiaries and/or affiliates of said party that have
issued shares or debt securities to the public.


5/19/2022                                          /s/ Daniel Falcucci
                                                   ______________________________________
Date                                               Signature of Attorney or Litigant




                                                                               Revision Date: November 1, 2016
